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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                       OFFICE OF SPECIAL MASTERS
                                               No. 11-567V
                                        Filed: February 27, 2014
                                          (not to be published)

****************************
SANDRA MCCRAY,             *
                           *
              Petitioner,  *                                         Stipulation; Flu Vaccine
v.                         *                                         Brachial Neuritis;
                           *                                         Carpal Tunnel Syndrome;
SECRETARY OF HEALTH        *                                         Complex Regional Pain
AND HUMAN SERVICES,        *                                `        Syndrome
                           *
              Respondent.  *
****************************

Irene McLafferty, Esq., Messa and Associates P.C., Philadelphia, PA for petitioner.
Debra Begley, Esq., U.S. Dept. of Justice, Washington, DC for respondent.

                               DECISION ON JOINT STIPULATION1

Vowell, Chief Special Master:

       Sandra McCray [“petitioner”] filed a petition for compensation under the National
Vaccine Injury Compensation Program2 on September 6, 2011. Petitioner alleges that
she developed brachial neuritis [“BN”], and/or complex regional pain syndrome
[“CRPS”], and/or carpal tunnel syndrome [“CTS”], and that these conditions were
caused in fact by a flu vaccination. See Stipulation, filed Feb. 27, 2014, at ¶¶ 2, 4.
Further, petitioner alleges that she experienced residual effects of her injury for more
than six months. Id. Respondent denies that petitioner’s flu vaccine is the cause of her
alleged BN, and/or CRPS, and/or CTS, or any other condition. Stipulation at ¶ 6.


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B).
Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that provision, I
will delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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       Nevertheless, the parties have agreed to settle the case. On February 27, 2014,
the parties filed a joint stipulation agreeing to settle this case and describing the
settlement terms.

Respondent agrees to pay petitioner:

        A lump sum of $70,000.00 in the form of a check payable to petitioner,
        Sandra McCray. This amount represents compensation for all damages that
        would be available under § 300aa-15(a).

       The special master adopts the parties’ stipulation attached hereto, and awards
compensation in the amount and on the terms set forth therein. The clerk of the court is
directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                        s/ Denise K. Vowell
                                        Denise K. Vowell
                                        Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
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